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 5
                              UNITED STATES DISTRICT COURT
 6                           EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,                )
 8                                             )     No. CR-07-075-LRS
                        Plaintiff,             )
 9                                             )     ORDER GRANTING DEFENDANT'S
      v.                                       )     MOTION TO RECONSIDER ORDER
10                                             )     OF DETENTION AND SETTING
      TEESHA M. PATTERSON,                     )     CONDITIONS OF RELEASE
11                                             )
                        Defendant.             )
12                                             )

13         At   the   June    5,   2007,    hearing     on    Defendant's     Motion    to

14   Reconsider Order of Detention, Assistant Federal Defender Christina

15   Hunt appeared with Defendant; Assistant U.S. Attorney George Jacobs

16   represented      the   United   States.        The      matter   was   taken   under

17   advisement; both parties have supplemented the record.

18         Defendant maintains there now is new information that should be

19   considered as to bail issues.             The court, having considered the

20   proffers of Defendant and Plaintiff, finds for the limited purpose

21   of this hearing, the Defendant no longer has a pending warrant.                   In

22   addition, Defendant argues there is very little evidence against her

23   since the Co-Defendant represents Defendant did not know what was in

24   the trunk of the vehicle, and Defendant did not rent the vehicle.

25   Rather, Defendant, who does not have a license, was driving the

26   vehicle and at an excess rate of speed (allegedly 91 m.p.h.).                   It is

27   alleged she said nothing was in the trunk.                 A search of the trunk

28   revealed    unlawful     controlled     substances.           The   United     States

     ORDER GRANTING DEFENDANT'S MOTION TO RECONSIDER
     ORDER OF DETENTION AND SETTING CONDITIONS OF RELEASE - 1
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 1   maintains there are incriminating inferences from circumstantial
 2   evidence described in the police reports. Defendant has family ties
 3   in Tacoma, Washington, where she resides.                Her criminal history is
 4   significant.
 5         The court concludes there now is a combination of conditions to
 6   reasonably assure that Defendant is not a risk of non-appearance or
 7   risk to the community.
 8         IT IS ORDERED the Defendant’s Motion (Ct. Rec. 38) is GRANTED.
 9   Defendant shall be released, subject to the following conditions:
10         1.    Defendant shall not commit any offense in violation of
11   federal, state or local law. Defendant shall advise her supervising
12   Pretrial Services Officer and her attorney within one business day
13   of any charge, arrest, or contact with law enforcement.
14         2.    Defendant shall advise the court and the United States
15   Attorney in writing before any change in address.                   Defendant shall
16   reside with a family member, specifically one of her aunts, unless
17   prior written permission from Pretrial Services is given.
18         3.    Defendant shall appear at all proceedings and surrender as
19   directed for service of any sentence imposed.
20         4.    Defendant shall sign and complete form A.O. 199C before
21   being released and shall reside at the address furnished.
22         5.    Except       for   travel      to    Spokane      for     court-related
23   appearances, Defendant shall remain in the Tacoma, Washington, area
24   while the case is pending. On a showing of necessity, Defendant may
25   obtain prior written permission to leave this area from the United
26   States Probation Office.
27         6.    Defendant      shall   maintain        or    actively     seek   lawful
28   employment.

     ORDER GRANTING DEFENDANT'S MOTION TO RECONSIDER
     ORDER OF DETENTION AND SETTING CONDITIONS OF RELEASE - 2
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 1         7.    Defendant shall not possess a firearm, destructive device
 2   or other dangerous weapon.
 3         8.    Defendant is further advised, pursuant to 18 U.S.C. §
 4   922(n), it is unlawful for any person who is under indictment for a
 5   crime punishable by imprisonment for a term exceeding one year, to
 6   possess, ship or transport in interstate or foreign commerce any
 7   firearm or ammunition or receive any firearm or ammunition which has
 8   been shipped or transported in interstate or foreign commerce.
 9         9.    Defendant shall refrain from the excessive use of alcohol,
10   and the use or possession of a narcotic drug and other controlled
11   substances defined in 21 U.S.C. § 802, unless prescribed by a
12   licensed medical practitioner.          Random urinalysis testing shall be
13   conducted through Pretrial Services, but shall not exceed six (6)
14   times per month.         In addition, if directed to do so by Pretrial
15   Services, Defendant shall participate in a mental health evaluation
16   and comply with recommendations.
17         10.   Defendant shall report to the United States Probation
18   Office before or immediately after her release and shall report as
19   often as they direct, at such times and in such manner as they
20   direct. Defendant shall contact her attorney at least twice a week.
21         11.   Defendant shall post a $50,000 corporate surety bond.                In
22   addition, Defendant and a family member shall co-sign a $10,000
23   unsecured appearance bond.
24         12.   Prior to release, Defendant shall sign a copy of this
25   Order, to be kept in Pretrial Services’ file, to evidence she has
26   read, understands and agrees to abide by these conditions of
27   release.
28         Defendant is advised a violation of any of the foregoing

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 1   conditions of release may result in the immediate issuance of an
 2   arrest warrant, revocation of release and prosecution for contempt
 3   of court, which could result in imprisonment, a fine, or both.
 4   Specifically, Defendant is advised a separate offense is established
 5   by the knowing failure to appear and an additional sentence may be
 6   imposed for the commission of a crime while on this release.                    In
 7   this    regard,   any    sentence     imposed     for    these   violations     is
 8   consecutive to any other sentence imposed.
 9          DATED June 8, 2007.
10
11                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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13
14
     READ, UNDERSTOOD AND AGREED TO:
15
16   ________________________________
     TEESHA M. PATTERSON         Date
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     ORDER GRANTING DEFENDANT'S MOTION TO RECONSIDER
     ORDER OF DETENTION AND SETTING CONDITIONS OF RELEASE - 4
